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                     IN THE UNITED STATES DISTRfC~ ffiJ!;R.T
                   FOR THE SOUTHERN DISTRICT O E~ ~~¥ ~8-KL y                        FILED
                                                           D0C'.           .[, I ~
 RAYMOND ANTHONY SMITH, as                                 DAT~ n:I~7D:   1-1:-f1f
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 Administrator of the Estate of George Eric
 Smith, deceased
 and                                                                         tit(
                                                    CASE NO. 01-cv-10132:%
 Katherine Soulas, Executrix of the Estate of
 Timothy Soulas, deceased
                                     Plaintiffs,
              v.
 THE TALIBAN, et al.
                                      Debtors,
 and
 THE FEDERAL RESERVE BANK
 OFNEWYORK
                                    Garnishee.
         -(Pt opost.Sfl) ORDER GRANTING THE SMITH-SOULAS CREDITORS'
          MOTION FOR ALTERNATIVE SERVICE UPON THE TALIBAN
                           AND DA AFGHANISTAN BANK

        Upon consideration of the Smith-Soulas Creditors' Motion for an Order directing

 alternative service upon The Taliban and Da Afghanistan Bank ("DAB"), it is hereby

 ORDERED that the Smith-Soulas Creditors' Motion is GRANTED. Service of the Smith-

 Soulas' Turnover Motion ("Turnover Motion") upon The Taliban and the DAB is

 AUTHORIZED through the following means:

        ALTERNATIVE SERVICE AS TO THE TALIBAN IS AUTHORIZED AS
        FOLLOWS:
    •   By publication at least once in each of four (4) consecutive weeks, in the manner
        specified in N.Y. CPLR Rule 316, in Al Quds Al-Arabi and The New York Times;
        AND

    •   Via Twitter, through communication to the Twitter accounts of Taliban First
        Deputy Prime Minister Abudllah Azzaro (@Abdullah_ azzam7) and Taliban
                                                1

                       SMITHV. ISLAMIC EMIRATE OF AFGHANISTAN, ET AL.
~   .   Case 1:01-cv-10132-GBD-SN Document 45 Filed 04/14/22 Page 2 of 2
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                political spokesman Mohammad Naeem (@IeaOffice), or to any other Twitter
                accounts reported to belong to Taliban spokespersons.

                IT IS FURTHER ORDERED that Alternative Service of the Turnover Motion

         Papers upon Da Afghanistan Bank (DAB) is AUTHORIZED through the following

         methods:

            •   By publication at least once in each of four (4) consecutive weeks, in the manner
                specified in N.Y. CPLR Rule 316, in Al Quds Al-Arabi and The New York Times;
                AND

            •   Via e-mail to DAB's official e-mail account, info@dab.gov.af, which is posted as
                DAB's official e-mail account on the official website of DAB, located at
                http://dab.gov.af/; AND

            •   Via Twitter, through communication to the official Twitter account of DAB,
                @AFGCentralbank, which is linked to on the official website of DAB;

            •   If feasible, via personal delivery to the central offices of DAB located at Ibni-Sina
                Watt, Kabul, Afghanistan or via any other means authorized under the laws of
                Afghanistan.

                These Notices shall be accompanied by a translation of the relevant documents

         into a language spoken by a substantial percentage of Afghanistan's population.




                                                   r
                                                       SO ORDERED

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                                                    LEWIS A. ~\P        N,   S
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                               SMITH v. ISLAMIC EMIRATE OF AFGHANISTk. ET AL.
